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       I am over 18 years of age and a party to this action. I am a resident of                      AY é (7 J. ?             ‘

                                                                                                                                      Prison,

       in the county of           f\   ma     God                                                              |

       State of California. My prison address is: KE AA Mh f KE nn VAL                                    #, FY             an

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       on the parties herein by placing true and correct copies thereof, enclosed in a sealed envelope, with postage

       thereon fully paid, in the United States Mail in a deposit box so provided at the above-named correctional

       institution in which J am presently confined.              The envelope was addressed as follows:
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 1, (print your name) keMW,Wh             Ke&     On V/A ‘a              , declare under penalty: af perjury that
 Iam the proces |in this case; I believe I am entitléd to relief, and I am   unable to pay the costs of this
 proceeding or give security thereof.
 In support of this application, I provide true, correct and complete answers to all of the following
  questions:
  1.         Are you presently employed in prison? LJ Yes ae                                     re Je
             The number of hours you work per week:              ft —                       p
                                                                        T he hourly rate of pay:  eae
  2.         For the past twelve months, list the amount of money you have received from: ‘any:of the fol lowing
             sources.                                                         .            ;
             a. Business, profession or self-employment                            a                     Sd 6         :
                                   a              -                                                               A
             b.   Income from rent, interest or dividends                                          $       _?
        ‘ ¢. Pensions, annuities or life insurance payments                                        §       fo
             d.   Disability, Social Security or other government source                           $       AJ             =
             e. Gifts or inheritances                                                              $°      7,
             f.   Describe any other source of income:                                             $

  3.         List the amount for each of the following (include prison account funds):

                     Cash §                .          Checking §                               Savings «
                  on hand          a                   account      OG                         account ° ae


- 4,         Do you own or have any interest in any real estate, stocks, bonds, notes, retirement plans,
             automobiles, or other valuable property (excluding ordinary household furnishings and clothing)?
             If Yes, describe the property and state its approximate value:
   Cl Yes                                                                                                  | -                )

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